   8:19-cv-00572-JFB-SMB Doc # 64 Filed: 10/21/21 Page 1 of 2 - Page ID # 280




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

KATHERINE BELCASTRO GONZALEZ, )                      CASE NO. 8:19CV572
                                           )
                    Plaintiff,             )
                                           )                AMENDED
        v.                                 )         NOTICE TO TAKE DEPOSITION
                                           )
CITY OF OMAHA, a Municipal                 )
Corporation, TODD SCHMADERER,              )
Chief of Police of the Omaha Police        )
Department, in his official and individual )
Capacity and JEAN STOTHERT, Mayor          )
of the City of Omaha, and TIM YOUNG, )
Former Human Relations Director for the )
City of Omaha, in his official and         )
individual Capacity,                       )
                                           )
                       Defendants.         )

       TO: Scott Gray and his Attorney, Michelle Peters

       Each of the above-named parties are hereby notified that the undersigned will take the

oral deposition of Scott Gray, before a notary on Thursday, October 28, 2021 immediately

following the deposition scheduled for 9:00 a.m. that morning, at the offices of The City of

Omaha in the Law Office Conference Room, 8th Floor, Suite 804, Omaha, NE 68183.

       The deposition will be recorded stenographically. The taking of said deposition may be

adjourned from day to day until completed.

                                                     KATHERINE BELCASTRO-GONZALEZ,
                                                     PLAINTIFF


                                             BY:     s/Thomas M. White
                                                     Thomas M. White, #17452
                                                     Amy S. Jorgensen, #23215
                                                     WHITE & JORGENSEN
                                                     3114 St. Mary’s Avenue
                                                     Omaha, Nebraska 68105
   8:19-cv-00572-JFB-SMB Doc # 64 Filed: 10/21/21 Page 2 of 2 - Page ID # 281




                                                   (402) 346-5700
                                                   twhite@whitejorgensen.com
                                                   ajorgensen@whitejorgensen.com

                                                   ATTORNEYS FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2021, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which sent notification of such filing to
Michelle Peters, City of Omaha Law Department, 1819 Farnam Street, #804, Omaha, NE 68183


                                                     s/Thomas M. White
